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                          NOTICE OF RELATED CASES

DATE :       October 27, 2020

TO:          Clerk's Office
             United States District Court
             Raleigh, North Carolina

FROM:        ADAM F. HULBIG
             Assistant United States Attorney
             Criminal Division

SUBJECT: United States v. Sharita Mathis RICHARDSON
         Docket No.- - - - - - - Western Division

      The above-named defendant is being charged by Criminal Information with
conspiracy to commit healt h care fraud, in violation of Title 18, United States Code,
Section 1349.

      This case is related to United States v. Reginald Van Reese, Jr. , Case No. 5: 18-
CR-78-FL, in that th e instant case arises out of the same criminal activity.
Substantial duplication of labor would be caused if the cases were heard by different
judges.


Reviewed and approved by:




         Case 5:20-cr-00506-FL Document 4 Filed 11/09/20 Page 1 of 1
